       Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 1 of 20



                    CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                      STATE OF LOUISIANA
                                                                                         SECTl0N 13
NO. ,10+d ····- O'g G                       DIVISION " "                                    DOCKET NO.

                                      JOSHUAALEXANDE

                                              VERSUS

                       LEONARD GREENLEE, BAH EXPRESS, INC. AND                                     --a <              iT)
                          SENTRY SELECT INSURANCE COMPANY
                                                                                                   e
FILED:
                                                         DEPUTY CLERK

                                     CLAIM FOR DAMAGES

         TO THE HONORABLE, THE JUDGES OF THE CIVIL DISTRICT COURT FOR

 THE PARISH OF ORLEANS, STATE OF LOUISIANA:

         The petition of JOSHUA ALEXANDER, a full age resident of the City of New Orleans,

 Parish of Orleans, State of Louisiana with respect r         e      R DAR D NAPOLEON
                                                       LLEHK. P IL DlSTRICT COURT
                                                       402 CP IL COURTS BUILDING
                                                   1
                                                       421 LOYOLA AVENUE - ROO M 432
                                                       NFW i iRLEANO LA'ní t?
         Defendant, LEONARD GREENLEE,              is gfy I                  nt of the City of Powell, State

 of Tennessee and, at all pertinent times hereto, v7àsethet Dcóperator of2â!20M 2ntéfifátWnal 18
                                                        R e o e ipt Number      895213
 wheeler    on the date of the incident complainedCofj¯ildefendant, BAM EXPRESS, INC., is a
                                                        Register               ObC Cash Register i
 foreign corporation organized to do and doing bu(iñels-ifü¾i§paiish2gnf sgtgggd¯ at alfliiiiëš

 pertinent hereto, was the owner of the 2016 InternWibùâlol¥ wheeler*oiMiié"date of the incident
                                                       AmountRecebted            $648.50
 complained of as well as the employer of defendanl,313EONARD GRÉÉMEE on the date of the
                                                        Ove r P avrnent         $ O.00
 incident complained of; defendant, SENTRY SEIMGTRSWffRGETQFIP-A-NY,-iss-a-föiëign
                                                        check # 663e8 s548.60
 insurance corporation    organized to do and doing business in this parish and state and, at all

 pertinent times hereto, was the liability insurance carrier of defendant, BAH EXPRESS, INC. on
                                                       item                          Charged            Paid    Bai
 the date of the incident complained of.               Petition fo r D a mages           $444.50 $444.50 $0.00
                                                     Ju di cia! CoHege                   30.50       ?O.50 30.00
                                                  2. D ui! din g Fund Fee                $25.00       25.00 $0.00
                                                      ndÍQ8niÊ_egafFee                   ?10.00      $10.00 00.00
       That said defendants are jointly, severally andSin solido, justly and truly tiiñdebted hílfo0fottì0.00
                                                       Supreme Court- Proc               $10.00        10.00 $0.00
petitioner for an amount that is reasonable under the!circ~umstances, together with legal interest                      .
                                                       RequestforProducii                $10.00      10.00 $0.00
thereon from date of judicial demand until paid, fBíi WlPeostròFihese proceedings and for the
                                                       interrogatories                     22.00     $22.00    0.00
following to-wit:




                                                                                 VERFD
       Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 2 of 20



                                                  3.

       On or about July 26, 2021            at approximately 9:25 A.M., petitioner, JOSHUA

ALEXANDER was riding as a passenger on a 2021 New Flyer XD35 bus (hereinafter referred to

as "the bus") that was operated by Antonio Bell and owned by New Orleans Regional Transit

Authority.   The bus stopped for a semaphore facing red in its direction in the right turn lane on

General DeGaulle Drive at its intersections with LB Landry Avenue in the City of New Orleans,

Parish of Orleans, State of Louisiana.      Defendant, LEONARD GREENLEE, was operating a

2016 International 18 wheeler owned by BAH EXPRESS, INC. in the right lane on General

DeGaulle Drive. Suddenly and without warning, the GREENLEE vehicle began to turn right off

of General DeGaulle Drive onto LB Landry Avenue striking the bus.

                                                  4.

       At the time of the accident, defendant, LEONARD GREENLEE was within the course

and scope of his employment with defendant, BAH EXPRESS, INC.

                                                  5.

       Petitioner, JOSHUA ALEXANDER alleges that the sole and proximate cause of this

accident was the joint and concurrent negligence of defendants, in the following respects:

       LEONARD GREENLEE:

       a)      Failing to have his vehicle under proper control;

       b)      Failing to see what he should have seen;

       c)      Driving in a reckless and careless manner;

       d)      Improper lane turning..

       BAH EXPRESS, INC.:

       a)      Liability under the doctrine of respondeat superior.

                                                 6.

       Because of the aforementioned accident and as a direct and proximate cause thereof, your

petitioner, JOSHUA ALEXANDER sustained the following injuries and damages:

       L5-S1 left paracentral disc protrusion;

       Sprain of left knee with fluid in the infrapatellar bursa;

       Contusions of the left knee and ankle;

       Sprain of left foot;

       Muscle spasm;
       Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 3 of 20



       Radiculopathy - cervicothoracic region;

       Cervical strain;

       Sprain of right shoulder and arm;

       Occipital headaches;

       Nervousness, nausea and upset.

                                                   7.

       Your petitioner itemizes his damages as follows:

       Past, present and future medical expenses;

       Pain and suffering;

       Emotional stress and strain;

       Loss of enjoyment of life;

       Past, present and future lost wages and loss of earning capacity.

                                                   8.

       Petitioner, JOSHUA ALEXANDER avers amicable demand upon defendants to no avail.

       WHEREFORE, petitioner prays that a copy of this petition be served upon each defendant

herein; that they be duly cited to appear and answer same and that,.after all legal delays and due

proceedings had, there be judgment herein in favor of petitioner, JOSHUA ALEXANDER and

against defendants, LEONARD GREENLEE, BAH EXPRESS, INC. and SENTRY SELECT

INSURANCE COMPANY, jointly, severally and in solido, for an amount that is reasonable under

the circumstances, together with legal interest thereon from date ofjudicial demand until paid, for

all costs of these proceedings and for all general and equitable relief.




                                               DARLEEN M. JACOB ESQ., BAR #7208
                                               (A PROFESSIONAL LA CORPORATION)
                                                823 St. Louis Street
                                                New Orleans, Louisiana 70112
                                               (504) 522-0155 and (504) 522-3287
                                               Attorney for Plaintiff,
                                               JOSHUA ALEXANDER                                       .
      Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 4 of 20




PLEASE SERVE DEFENDANTS
AS FOLLOWS:

LEONARD GREENLEE                    (UNDER THE LOUISIANA LONG ARM STATUTE)
373 He1Tell Lane
Powell, TN 37849

BAH EXPRESS, INC.                   (UNDER THE LOUISIANA LONG ARM STATUTE)
Through Their Agent for Service of Process,
Waymond D. Hemmings
4424 Thurman Road
Conley, GA 30288

SENTRY SELECT INSURANCE COMPANY
Through Their Agent for Service of Process,
Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809
       Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 5 of 20




                  CIVIL DISTRICT COURT FOR THE PARISH OF O

                                      STATE OF LOUISIANA

NO.                                        DIVISION " "                                  KET NO.

                                      JOSHUA ALEXANDER

                                              VERSUS

                      LEONARD GREENLEE, BAH EXPRESS, INC. AND
                         SENTRY SELECT INSURANCE COMPANY

FILED:
                                                      DEPUTY CLERK


                                     REQUEST FOR NOTICE

       NOW 1NTO COURT, through undersigned counsel, comes plaintiff, JOSHUA

ALEXANDER , pursuant to L.S.A. - C.C.P. Article 1572, moves this Honorable Court for written

notice, ten (10) days in advance of the date fixed for the trial or hearing on any exception, motion,

rule or trial on the merits in the captioned proceedings, and pursuant to L.S.A. - C.C.P. Articles

1913 and 1914, requests immediate notice of all interlocutory and final orders and judgments on

any exceptions, motions, rules or the trial on the merit      e captioned proceedings.


                                              DARLEEN M. JAC BS           Q., BAR #7208
                                              (A PROFESSIONAL L          CORPORATION)
                                               823 St. Louis Street
                                               New Orleans, Louisiana 70112
                                              (504) 522-0155 and (504) 522-3287
                                              Attorney for Plaintiff,
                                              JOSHUA ALEXANDER


PLEASE SERVE DEFENDANTS                                                                    .
AS FOLLOWS:

LEONARD GREENLEE                       (UNDER THE LOUISIANA LONG ARM STATUTE)
373 Herrell Lane
Powell, TN 37849

BAH EXPRESS, INC.                      (UNDER THE LOUISIANA LONG ARM STATUTE)
Through Their Agent for Service of Process,
Waymond D. Hemmings
4424 Thurman Road                                                                               •
Conley, GA 30288

SENTRY SELECT INSURANCE COMPANY
Through Their Agent for Service of Process,
Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809


                                                                              VERRED
          Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 6 of 20




                      CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                            STATE OF LOUISIANA

    NO.       0    - Ép                        DIVISION " "                            DOCKE          .

                                            JOSHUA ALEXANDER

                                                 VERSUS

                           LEONARD GREENLEE, BAH EXPRESS, INC. AND
                              SENTRY SELECT INSURANCE COMPANY

    FILED:
                                                        DEPUTY CLERK




•                                    INTERROGATORIES
                         AND REQUEST FOR PRODUCTION OF DOCUMENTS

    TO:   LEONARD GREENLEE                  (UNDER THE LOUISIANA LONG ARM STATUTE)
          373 Herrell Lane
          Powell, TN 37849

          BAH EXPRESS, INC.           (UNDER THE LOUISIANA LONG ARM STATUTE)
          Through Their Agent for Service of Process,
          Waymond D. Hemmings
          4424 Thurman Road
          Conley, GA 30288

          SENTRY SELECT INSURANCE COMPANY
          Through Their Agent for Service of Process,
             Louisiana Secretary of State
             8585 Archives Avenue
          Baton Rouge, LA 70809


             Pursuant to the Louisiana Code of Civil Procedure, Answers to the Interrogatories and

    Response to the Request for Production of Documents are to be served on the undersigned

    counsel within the delays allowed by law and to be answered and responded to by you personally

    or through an authorized officer or agent, in writing, signed and under oath. Plaintiffs request that

    in accordance with the Louisiana Code of Civil Procedure and decision of the United States

    Supreme Court in Hickman vs. Taylor, 329 U.S. 495 (1947), the answers and responses include

    all pertinent information gathered by you or on your behalf through interviews with witnesses and

    through other investigations, in addition to information available to you, or directly within your

    knowledge, or the knowledge of your employees, agents, servants, insurers and attorneys. Timely

    supplementation of your answers and responses is specifically requested.

    INTERROGATORY NO. 1:


                                                                               VER\BED
      Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 7 of 20



        State the types and policy numbers and limits of each policy of insurance issued, including

any and all excess insurance and umbrella coverages, applicable to the vehicle which you

operated or was operated by your insured, or by a permissive use, and/or the vehicle's operator

and/or its lessee, and/or its owner at the time of the accident, and state the names and addresses of

the company issuing each such policy, as well as the present custodian of each such policy.

INTERROGATORY NO. 2:

        Please identify by name, address and employer, each person known to you, or whose

identity has been provided to you or your attorney, who witnessed or claims to have witnessed

any aspect of the accident.

INTERROGATORY NO. 3:

        Please state the name of the person, firm or corporation requesting and/or conducting any

investigation of the accident, any allegedly related accidents prior or subsequent thereto, and/or

the damages claimed as a result thereof, and on whose behalf such an investigation was made,

together with the dates of the conduct of any such investigation.

        (Note: "investigation" is hereby defined to include, but is not limited to, any

        surveillance of any plaintiff by any means.)

INTERROGATORY NO. 4:

        Have you or has anyone on your behalf taken or obtained any statement of any nature

whatsoever, whether written or oral, from any plaintiff, or anyone purporting to be or believed by

you to be an agent for or spokesman on behalf of any plaintiff concerning the accident and

injuries which are the subject of this lawsuit? If so, please identify by name and address the

individual or individuals from whom said statement(s) were taken, the date, time and place where        .

any such statement(s) were taken, whether said statement was written or oral, and if written, a

sufficient description of the document to enable it to be subpoenaed, and if oral, the name of each

person present.

INTERROGATORY NO. 5:

        Please list each document which you may use in the trial of this case.

INTERROGATORY NO. 6:

        Please identify each person, by name, address, and telephone number, whom you may or

will call as a lay witness in the trial of this matter.

INTERROGATORY NO. 7:
      Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 8 of 20



        Please identify each person, by name and address, whom you may or will call as an expert

witness in the trial of this matter.

INTERROGATORY NO. 8:

        Were any appraisals or estimates or repairs made of the vehicle driven and/or owned

and/or leased by any defendant(s) regarding this accident? If so, please state the name, address

and telephone number of the party who made such appraisal and/or estimate, and/or repairs.

INTERROGATORY NO. 9:

        In which other lawsuits, besides the instant matter, has the defendant driver ever been

involved, if any? For any such lawsuit, please identify the specific court where brought, the

docket number, the names and last known addresses of any other parties and/or counsel involved,

the nature of the suit, and the final outcome of said suit, or the current status of the suit if it is still

pending.

INTERROGATORY NO. 10:

        Please state whether the defendant driver has ever been convicted of any criminal offense.

If so, please state the nature of any such offense, the specific court where the conviction was

issued, the specific sentence handed down, and the actual sentence served or performed.

INTERROGATORY NO. 11:

        Please state whether the defendant driver has ever been issued any citation for any moving

traffic violation. If so, please state the nature of any offense for which such citation was issued,

the specific jurisdiction issuing same, and the details of any disposition thereof, or the current

status if not disposed of at this time.

INTERROGATORY NO. 12:

        Were there any photographs and/or drawings of the scene, any of the vehicles, oi· of any of

the plaintiffs involved in this accident, made at the time of the accident or at any time thereafter?

If so, please state the name, address, and telephone number of the person who took such

photographs and/or made any such drawings, when any such photographs and/or drawings were

made, and at whose request, and who currently has possession of the same.

INTERROGATORY NO. 13:

        Was the defendant driver, at the time of this accident, within the course and scope of any

employment, on any agency relationship, or did he/she have permissive use of the vehicle he/she

was operating at the time of this accident? If so, please state the current name, address, and
          Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 9 of 20



    telephone number of any said employer-principal.

    INTERROGATORY NO. 14:

            Was the defendant driver issued a citation arising from this accident?               If so, please

    describe the violation(s) and state the disposition thereof.                                                 .

    INTERROGATORY NO. 15:

            Please state, defendant driver, in your own words, your version of how the accident

    occurred including what you did, if anything, to avoid the accident.

    INTERROGATORY NO. 16:

            Please state, defendant driver, in as much detail as possible, the weather, lighting and road

    conditions at the time and place of the accident, which is the subject of this litigation.

    INTERROGATORY NO. 17:

           Defendant driver, at the time of this accident, were you required to wear glasses or contact

    lenses while driving? If yes, were you wearing glasses or contact lenses at the time of the

    accident, which is the subject of this litigation?

.   INTERROGATORY NO. 18:

           Defendant driver, had you consumed any alcoholic beverages, drugs, or medication in the

    12 hours preceding the accident, which is the subject of this litigation?                If yes, for each

    consumption, please state the time and place of consumption, what was consumed, and how much

    was consumed.

    INTERROGATORY NO. 19:                                                                                        .

           Please state with specificity and complete detail any facts on which you base any

    allegation that any plaintiff was comparatively negligent or was in any way or degree at fault with

    respect to the accident made the subject of this accident, and completely identify any witnesses

    upon whom you will call to testify to such facts, completely identify any documents, pictures,

    charts, and/or diagrams upon which you will rely in support of any such facts, and further,

    completely identify any experts upon whom you will call, in support of any such facts.

    INTERROGATORY NO. 20:

           Please list any and all accidents that you are aware of that any plaintiff has been involved

    in from 1987 through 2022, including the date of accident, type of accident, injuries sustained,

    and medical providers seen.                                                          .

    INTERROGATORY NO. 21:
     Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 10 of 20



        Please list any and all claims that you are aware of that any plaintiff has made against any

insurance company from 1987 through 2022, including the date of claim, type of claim, and name

of the insurance company the claim was made against.

INTERROGATORY NO. 22:

        Please list any and all lawsuits that you are aware of that any plaintiff has filed from 1987

through 2022, including the date of suit, court where the suit was filed, and case number.

REQUEST FOR PRODUCTION NO. 1:

        Certified copies of any and all policies of insurance and dec sheets referred to in your

Answer to Interrogatory No. 1.

REQUEST FOR PRODUCTION NO. 2:

        Any and all photographs and drawings of the scene, vehicles, and plaintiffs involved in

this accident.

REQUEST FOR PRODUCTION NO. 3:

        Any and all video-tape, motion picture film, or other product of any surveillance of any

plaintiff(s) performed by your or at your request, or on your behalf.

REQUEST FOR PRODUCTION NO. 4:

        Any and all appraisals of any damages to any vehicle involved in this accident.

REQUEST FOR PRODUCTION NO. 5:

        Any and all repair bills with respect to any vehicle involved in this accident.

REQUEST FOR PRODUCTION NO. 6:

        Any written or recorded statements taken from any plaintiff(s) in this litigation.

REQUEST FOR PRODUCTION NO. 7:

        Any notes of any.oral statements taken from any plaintiff(s) in this litigation.

REQUEST FOR PRODUCTION NO. 8:

        Any and all documents referred to in your Answer to Interrogatory No. 5.

REQUEST FOR PRODUCTION NO. 9:

        The resume of any expert referred to in your Answer to Interrogatory No. 7.

REQUEST FOR PRODUCTION NO. 10:

        Any written or other report or communication from any expert witness referred to in your

Answer to Interrogatory No. 7.

REQUEST FOR PRODUCTION NO. 11:
             Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 11 of 20



               Any contract of lease which provides the basis of any permissive use referred to in your

        Answer to Interrogatory No. 13.



        REQUEST FOR PRODUCTION NO. 12:

               Any and all documents or physical evidence providing the basis for your Answer to

        Interrogatory No. 19.

        REQUEST FOR PRODUCTION NO. 13:

               Any and all documents in your possession concerning any accidents listed in Answers to

        Interrogatory No. 20.

.       REQUEST FOR PRODUCTION NO. 14:

               Any and all documents in your possession concerning any claims listed in Answer to

        Interrogatory No. 21.

        REQUEST FOR PRODUCTION NO. 15:

               Any and all documents in your possession concerning any lawsuits listed in Answer to

    .   Interrogatory No. 22.


                                                      DARLEEN M. JACOBS, ESQ., BAR #7208
                                                      (A PROFESSIONAL LAW CORPORATION)
                                                      823 St. Louis Street
                                                       New Orleans, Louisiana 70112
                                                      (504) 522-0155 and (504) 522-3287
                                                      Attorney for Plaintiff,
                                                      JOSHUA ALEXANDER

        PLEASE SERVE DEFENDANTS
        AS FOLLOWS:

        LEONARD GREENLEE                     (UNDER THE LOUISIANA LONG ARlM STATUTE)
        373 Herrell Lane
        Powell, TN 37849

        BAH EXPRESS, INC.                    (UNDER THE LOUISIANA LONG ARM STATUTE)
        Through Their Agent for Service of Process,
        Waymond D. Hemmings
        4424 Thurman Road
        Conley, GA 30288

        SENTRY SELECT INSURANCE COMPANY
        Through Their Agent for Service of Process,
        Louisiana Secretary of State
        8585 Archives Avenue
        Baton Rouge, LA 70809
                   Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 12 of 20
irrÖÚEY'S NÁÈIEi               Jaco s, Darleen M bŸ2ÒB
 WD A DD RESS                   B23 Saijt Lo s Street New Orleans, LA 70 1 12-34 15

                       CIVIL DISTRICT töTJRT FOR THE PARISH ÖÈíORLÈAN5
                                                        STATE OF LOÙISIÁNÀ
               NO¼ 2022-04553                              DIVISION: M                                                SECTION: 13
                                                        WLEXANDER, JOSHUA
                                                                    Versus
                                                  GREENLEE LEONARD ET AL

                                                        CITATION3LONG ARM
TOE                    BAH EXPRESS, IN C.
THROUGH:               THE EDUISIANÀ LöNG ÀRM STÄTÚTs THEIRMGÉNT FOR SÈRVICÈÕF PRödESS,
                       WAYMOND D. HEMMINGS
                       4424 THURMAN R.OADi CONEEY, GA 30288
YOU· HAVE BEEN SUED)
You must either comply with the demand.cönlainëd in the
 ŒÁlM.FOR DAMAGES, INTERROGATORIES AND REQUE ST FOR PRODUCTION OF D OCUMENTS
a certified copy ofŠvhich accompanies this cîiation, or file an answer or other legal pleading in the office of the
Clerk of this Couit, Room 402 Civil Courts Building, 42MoyolaAvenuejNe Ödeans, LN70112, within thirty
(3D) days after the fiŠng in the record df ìhe affidavifof lhe individual attesting tá the manneraf delivery made
through the FLong Arm Statuíe" under penally of default
                                            ADDITIONAI INFORMATION
           Eegal asistance ifad isable. If ýoù want¼ là výer and cän i find one, joù may oiitácf the New
           Orleans LaivyefReferral Seïvice ät lùlps:#neworleäiùbar.í:sommuñity.lawýer/.aThis Refehal Seïvice
           op¥mies id conjunctián with the.NeW Ofleans Bar Association. If youstualify, ýcu map be enf illed le
           fréElegal ássistä e through Soùìheast Louisiana Legal Sérvi¢es (SELSJat 877-521-6242 r 504-529
            1000.
           ********.COURT PERSONNEL ARE NOT PERMITTED TO GIVEpEGAL ADVICE********
IN WITNESS HEREOF,I have hereunksdmy hand and affir the sent of the Civil Diítrid CourÚor he.
Parish of OrIenns, State of LA May 24 2022
Clerk s Office,1toomî02                                                          CHELSEY RICHARD NÄPOLEON, Clerk of
Civil Couris Building                                                            The Civil District Court
421 Loyola Avenue                                                                foi· the Parish of Orleans
New OrIenns, LA 70112                                                            State of LA
                                                                                 by
                                                                                 ValericeWest Deputy Clerk
                                                              SHERIFPS RETU RN

                            PERSONALSÉnVICE                                                            DOMtctLIARY SERVfc2
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oN BÅllß¼PitESS INC                                                        ON IMilEXPitESS;1NC.
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                                                                                                                                 a person of suitable age and
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            SERIA No            DEPUT                   PAR




       ID: 10922985                                                Page 1 of 1
                    Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 13 of 20
ATTORNEY'S NAME:            Jacobs, Darleen M 07208
AND ADDRESS:                823 Saint Louis Street , New Orleans, LA 70112-3415

                       CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                  STATE OF LOUISIANA
            NO: 2022-04553                            DIVISION: M                                              SECTION: 13
                                                  ALEXANDER, JOSHUA
                                                             Versus
                                             GREENLEE, LEONARD ET AL
                                                 CITATION - LONG ARM
TO:                    BAH EXPRESS, INC.
THROUGH:               THE LOUISIANA LONG ARM STATUTE THEIR AGENT FOR SERVICEOF PROCESS,
                       WAYMOND D. HEMMINGS
                       4424 THURMAN ROAD, CONLEY, GA 30288
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
 CLAIM FOR DAMAGES, INTERROGATORIES AND REQUEST FOR PRODUCTION OF DOCUMENTS
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA 70112, within thirty
(30) days after the filing in the record of the affidavit of the individual attesting to the manner of delivery made
through the "Long Arm Statute" under penalty of default.
                                              ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can't find one, you may contact the New
       Orleans Lawyer Referral Service at https://neworleansbar.community.lawyer/. This Referral Service
       operates in conjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
       free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
        1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affiX the seal of the Civil District Court for the
Parish of Orleans, State of LA May 24, 2022
Clerk's Office, Room 402                                                   CHELSEY RICHARD NAPOLEON, Clerk of
Civil Courts Building                                                      The Civil District Court
421 Loyola Avenue                                                          for flie Parish of Orleans
New Orleans, LA 70112                                                        a
                                                                           Valerie West, Deputy Clerk
                                                        SHERIFF'S RETURN
                                                   (for use of process servers only)
                     PERSONAL SERVICE                                                             DOMICILIARY SERVICE
On this       day of                       served a copy of          On this               day of                                        served a copy of
the within                                                           the within
 CLAIM FOR DAMAGES, INTERROGATORIES AND REQUEST FOR                   CLAIM FOR DAMAGES, INTERROGATORIES AND REQUEST FOR
PRODUCTION OF DOCUMENTS                                              PRODUCTION OF DOCUMENTS
ON BAH EXPRESS, INC.                                                 ON BAH EXPRESS, INC.
THROUGH: THE LOUISIANA LONG ARM STATUTE THEIR AGENT                  THROUGH: THE LOUISIANA LONG ARM STATUTE THEIR AGENT
FOR SERVICEOF PROCESS, WAYMOND D. HEMMINGS                           FOR SERVICEOF PROCESS, WAYMOND D. HEMMINGS
                     Returned the same day                           by leaving same at the dwelling house, or usual place of abode, in the hands of
                                       No                                                                                   a Person of suitable age and
                                                                     discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                    name and other facts connected with this service I learned by interrogating
Mileage: $                                                           HIM/HER the said BAH EXPRESS, INC. being absent from the domicile at time
                                                                     of said service.
                            / ENTERED /                                                              Returned the same day
                    PAPER                 RETURN                                                                       No.
                                                                     Deputy Sheriff of
         SERIAL NO.           DEPUTY               PARISH




     ID: 10922985                                            Page 1 of 1
                    Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 14 of 20
Arrónsv5NÁÈIEi                     Jacobs, Daricen M bŸ2ÒB
WD ADDRESS                         B23 SaijtLo s Street NewOrleads LA70112-3415

                         CIVIL DISTRICT töTJRT FOR THE PARISH ÖÈíORLÈAN5
                                                               STATE OF LOÙISIÁNÀ
              NO¼ 2022 04553                                       DIVISION: M                                               SECTION: 13
                                                               ALEXANDER, JOSHUA
                                                                           Versus
                                                         GREENLEE LEONARD ET AL

                                                               CITATION3LONG ARM
TOE                      LEONÁRD)GREENLEE
TEIROÚÖH:                THÈ EDUISIANÀ LöNG ÀRM STÄTÚTÉ
                         373 HERRELL LANE POWELLy TN 37849
YOU HAVE BEEN SUEDi
Yéu must eiíher complysyüh the demand corilained in the
   LAIM FOR DAÍvfÃGES, IÑTERRÖGÄÝOR.IEŠ ÀND REQÜÈSÉFORÍRÖDÙÈTION ÓÉDÓÒUÑ1ENIS
a certified cppy of which acconganies this éilation or file an answer or other legal pleading in the effice.6f the
Clerk of this Court Room 40                  Civil CourlsvBuilding, 421 Lópola Avenue New OrleanstLA 70112, within thirty
(30Jdaysiafter the filing in the rebord of the affidavit of the jndividual attésting to the manner of delivery made
duough the "Long Arm Statute" under penally òf default.
                                       ADDITIONAL INFORMATION
     Legal assistance i advisable. If you want a lawyer and can't find one, you may contact the New
     Orleans I awynRäferml Service at hilps://nesorleánsbar.commùniti.laïvyér/. ThisiRêferral Service
     opera s in njiinclidngith:the New Onans Bar sscéi tion If u qualifý yöü may be éntiQed to
     free legal assplance through:Southeast honisiana Legal Services (SLLS) t 877 521 6242 or 504 529-

         *******COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF,I have hereunt6set my hand and affix the sen[ ofthe Civil Distriét Court for the
Parish pf OrtenngState ofLÁ May 24, 2022
.Clerk's OfficesRoom 402                                                                 CHELSEY RICHARD NAPOLEON, Clerk pf
Civil Courts Building                                                                    The Civil District Court
421 LoyoIn¾venue                                                                         for the Parish of OrIenns
Neiv OriennkLA 70112                                                                     Stnte of LA
                                                                                         Vnlerie Vest, Deputy Clerk
                                                                    SHERIFPS RETURN .
                                                               ( for use á f proècss serveis only)
                              PERSONAL S ERVICH                                                                DOMIC[LlARY SERVICE
on this              day of                                     saved a copy or   On tMs               day o                                       served a copy or
1he withm                                                                         the withm
CLAIM FOR DAA1ACES, IN1ERROCA10RIts AND REQUESTFOil                               C LAIM I/OR DAMACES INTERROCATOltIES AND REQUESTVOR
l'RODUCT ION OF DOC OMßNT                                                         PitODI.lCTION OF bOCUA IENTS
ON Lt.ONARD CREE.NLEE                                                             ON LEONÁltËCidËÑÌ.EE
1HROUGH· 1Hß LOOIMANA LONCARM $TATLllß                                            ÈH OUGÑ             LbÜIÁlAÑÂ Å..ONC A RÚ ßÍAT fÈ
                              Returned the same day                               by    a ingÈrne ät the dweÍling house or usual hlace o   bodÕn 1    hands c
                                                No
                                                                                  dscretion residing therein as a member et the damic iliary establishment; whose
Ikputy sheriff of                                                                 rmrê nnd other facts coimected with th s servim I leårned by inierrogatin
                                                                                  HIM/HER the sa id LEONARD Cit EEN LE being absent fiem the darmcilë nt
Mileage· $                                                                        time ersnid service
                                 /ENT£kBD /
                    PAPËR                             RETURN

                                                                                  Depúty SheriEr or
         SEEUAENöf                  DEPUTY                     l'ARISH.




     ID: 10922984                                                         Page 1 of 1
                    Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 15 of 20
ATTORNEY'S NAME:            Jacobs, Darleen M 07208
AND ADDRESS:                823 Saint Louis Street , New Orleans, LA 70112-3415

                       CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                  STATE OF LOUISIANA
            NO: 2022-04553                            DIVISION: M                                              SECTION: 13
                                                  ALEXANDER, JOSHUA
                                                             Versus
                                             GREENLEE, LEONARD ET AL
                                                 CITATION - LONG ARM
TO:                    LEONARD GREENLEE
THROUGH:               THE LOUISIANA LONG ARM STATUTE
                       373 HERRELL LANE, POWELL, TN 37849
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
 CLAIM FOR DAMAGES, INTERROGATORIES AND RE
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA 70112, within thirty
(30) days after the filing in the record of the affidavit of the individual attesting to the manner of delivery made
through the "Long Arm Statute" under penalty of default.
                                              ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can't find one, you may contact the New
       Orleans Lawyer Referral Service at https://neworleansbar.community.lawyer/. This Referral Service
       operates in conjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
       free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
        1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA May 24, 2022
Clerk's Office, Room 402                                                    CHELSEY RICHARD NAPOLEON, Clerk of
Civil Courts Building                                                       The Civil District Court
421 Loyola Avenue                                                           for the Par'sh of Orleans
New Orleans, LA 70112                                                       Stat f
                                                                            Valerie West, Deputy Clerk
                                                       SHERIFF'S RETURN                                             .
                                                   (for use of process servers only)
                     PERSONAL SERVICE                                                             DOMICILIARY SERVICE
On this       day of                       served a copy of          On this               day of                                       served a copy of
the within                                                           the within
 CLAIM FOR DAMAGES, INTERROGATORIES AND REQUEST FOR                   CLAIM FOR DAMAGES, INTERROGATORIES AND REQUEST FOR
PRODUCTION OF DOCUMENTS                                              PRODUCTION OF DOCUMENTS
ON LEONARD GREENLEE                                                  ON LEONARD GREENLEE
THRoUGH: THE LOUISIANA LONG ARM STATUTE                              THROUGH: THE LOUISIANA LONG ARM STATUTE
                     Returned the same day                           by leaving same at the dwelling house, or usual place of abode, in the hands of
                                                                                                                            a person of suitable age and
                                       No.                           discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                    name and other facts connected with this service I learned by interrogating
                                                                     HIM/HER the said LEONARD GREENLEE being absent from the domicile at
Mileage: $                                                           time of said service.
                            / ENTERED /                                                              Returned the same day
                    PAPER                 RETURN                                                                       No.
                                                                     Deputy Sheriff of
         SERIAL NO.           DEPUTY               PARIsH




      ID: 10922984                                            Page 1 of 1
                     Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 16 of 20
irrÖÚEY'S NÁÈIEi                   Jacobs, Daricen M bŸ2Ò8
 WD ADDRESS                         B23 SaijtLoys Street NewOrleads LA70112-3415

                          CIVIL DISTRICT töTJRT FOR THE PARISH ÖÈíORLÈAN5
                                                                STATE OF LOÙISIÁNÀ
               NO¼ 2022 04553                                       DIVISION: M                                                 SECTION: 13
                                                                ALEXANDER, JOSHUA
                                                                            Versus
                                                         GREENLEE LEONARD ET AL
                                                 CITATION
TOE                       SENTRY SELECT INSURANCE COMPANY
THROUGH:                  THEIR AÚENT FOR SERVICE ÖF PRÖCESS LOÙISIANA SECllŠTÄRTOF STATE
                          8585 ARCHIVES AVENUE, BATON ROUGE LK70809
YOU HAVE BEEN SUED
Yéu must eiíher complysyüh the demand corilained in the
ÍLAIM FOR DA IÁGES, IÑTERRÖGÄÝOR.IEŠ ÀND REQÜÈSÉFORÍRÖDÙÈTION ÓÉDÖÖUÑ1ENIS
a·certified copy of which acconganies this éitation or file an answer or other h:gal pleadingívithin the delay
Provided by Civil Codé of Procéduregrticle 1001. The mentiched article ignoted on jhe baèk of this page for
ygur reference You may make your filing in the officèöf the Clerk of this Court R.cohi 402, Civil Courts
Building, 421 Loyola Avenue,New Orleans, LA 70112.
                                         ADDITIONAL INFORMATION
      Legal assistance is advisable. If you want a lawyer and can't find one, you may contact the New
      Orleans I awyer Räferral Service at hitps //nesorleánsbar.corhmüniti.laïvyér/.1This Rêferral Service
      opera s in onjiinctidnnith the New O&ans Barlsscéi tion If òu qualiff yöü may be éntiQed to
      free legal a sistance through Southeast Eònisiana Legal Sérvices{SLLS)g 877 521 6242 o 5041529-

         *******COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF I have hereunt6set my hand and affix the senJ ofthe Civil Distriét Court for the
Parish pf OrIenngState ofLÁ May 24, 2022
Clerk's OfficesRoom 402                                                                  CHELSEY RIC.HARD NAPOLEON, Clerk of
Civil Courts Buildirig                                                                   The Civil Dis iet Court
421 LoyoIn¾venue                                                                         for the Parish öf OrIenns
Ne v OriennkLA 70112                                                                     Stnte of LA
                                                                                         VnlerieSVest, Deputy Clerk
                                                                    SHERIFF'S RETURN .
                                                                ( for use á f proècss serveis only)
                               PERSONAL S ERVICE                                                                 DOMIC[LlARY SERVICE
Ori this              day of                                     saved a copy of   On this              day of                                        serveda copy o
1he withm                                                                          the withm
CLAIM FOR uÅn1ACES, INTERROCATORIES AND REQUEST FOil                               C LAIM OR DAn1ACES INTERROCATOlt|ES ANI) REQUEST FOR
litODUCTION OF bOC OM ENT                                                          I'itOuOCTION OF bOCOniENTS
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  HROÙG TílEIRÄCENTFÒRS itNIÚÉOÉl'ROCES&.LOUISIANA                                 YÉo0GÉrtNEIRÄCÈNNOlÈSER l€ OF 'ItÃCÉSS,iOdiŠlANA
SECRETA itY OF STATE                                                               SEC RETARY OF STATE
                               Returned the mme day                                by leaving same at the dwelling house or usus place of abodecin the hands of
                                                No                                                                                        a perscn of sultable age and
                                                                                   dscretion residing theseln as a member of the domiciIbry estahlíshmenpvhose
Deputy Sherl ff of                                                                 nime ànd other facti connected with this serviée E lènrned by ínterro gatmg
Mleogeh$
                                                                                   HIM/MERthemid SENIRYSELI4CT INSURANCE COAH'AN?being ahsent
                                                                                   from the donne ile at time of said serwce.
                                 /ENTERED7
                     PAPER                            RET ORN                                                                       No.
                                                                                   )æputy sherifr
          SERIAL No                 DEPOTY                      PA RISH




      ID: 10922990                                                         Page 1 of2
              Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 17 of 20

                                              Civil Code of Procedures.
                                                     Article 1001
Àrt. 1001 D elay for answering
          Ã. A defsndantihalffile his answer withiniwentymne days alÍer service of ifaiiòn upon himg except as
otherwise provided by latv. If the plaintiff files and serves a discovery requestáviih his p tition, the defendant Åhall
file his answer to the petition within thirty days after service of citation and service of discovery request
          B. When an exception is filed prior to answer and is overruled or referred to the merits, or is sustained
and an amendment òf the petition ordered, the answer shall be filed wiíhin fifieen days aftér the exception is
overruled or referred to the merils, or fifteendays afler service of the amended pelítion.
          C. The court may grani additional time for answeiing.
          Acts 2021 No 1       , §1, efE JanJ, 20Ž2.




    ID: 10922990                                       Page 2 002
                  Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 18 of 20
 ATTORNEY'S NAME:              Jacobs, Darleen M 07208
 AND ADDRESS:                  823 Saint Louis Street , New Orleans, LA 70112-3415
                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                     STATE OF LOUISIANA
              NO: 2022-04553                             DIVISION: M                                                 SECTION: 13
                                                     ALEXANDER, JOSHUA
                                                                   Versus

                                                GREENLEE, LEONARD ET AL
                                              CITATION
TO:                     SENTRY SELECT INSURANCE COMPANY
THROUGH:                THEIR AGENT FOR SERVICE OF PROCESS, LOUISIANA SECRETARY OF STATE
                        8585 ARCHIVES AVENUE, BATON ROUGE, LA 70809
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
 CLAIM FOR DAMAGES, INTERROGATORIES AND REQUMUCTION OF DOCUMENTS
 a certified copy of which accompanies this citation, or file an answer or other legal pleading within the delay
provided by Civil Code of Procedure Article 1001. The mentioned article is noted on the back of this page for
your reference. You may make your filing in the office of the Clerk of this Court, Room 402, Civil Courts
Building, 421 Loyola Avenue, New Orleans, LA 70112.
                                            ADDITIONAL INFORMATION
         Legal assistance is advisable. If you want a lawyer and can't find one, you may contact the New
          Orleans Lawyer Referral Service at https://neworleansbar.community.lawyer/. This Referral Service
         operates in cOnjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
         free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
          1000.
         ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA May 24, 2022

Clerk's Office, Room 402                                                       CHELSEY RICHARD NAPOLEON, Clerk of
Civil Courts Building                                                          The Civil District Court
421 Loyola Avenue                                                              for the Pa 'sh of Orleans
New Orleans, LA 70112                                                          Sta e f
                                                                               by
                                                                               Valerie West, Deputy Clerlf
                                                         SHERIFF'S RETURN
                                                     (for use of process servers only)
                          PERsoNAL SERVICE                                                            DOMICILIARY sERVICE
  this           day of                              served a copy of       this             day of             .                          served a copy of

 CLAIM FOR DAMAGES, INTERROGATORIES AND REQUEST FOR                     CLAIM FOR DAMAGES, INTERROGATORIES AND IlEQUEST FOR
PRODUCTION OF DOCUMENTS                                                 PRODUCTION OF DOCUMENTS
ON SENTRY SELECT INSURANCE COMPANY                                      ON SENTRY SELECT INSURANCE COMPANY
THROUGH: THEIR AGENT FOR SERVICE OF PROCESS, LOUISIANA                  THRoUGH: THEIR AGENT FOR SERVICE OF PROCESS, LOUIsIANA
SECRETARY OF STATE                                                      SECRETARY OF STATE
                    Returned the same day                               by leaving same at the dwelling house, or usual place of abode, in the hands of
                                      No.                                                                                      a person of suitable age and
                                                                        discretion residing therein as a member of the domiciliary establishment, whose
Deputy sheriff of                                                       name and other facts connected with this service I learned by interrogating
Mileage: $                                                              HIM/HER the said SENTRY SELECT INSURANCE COMPANY being absent
                                                                        from the domicile at time of said service.
                            / ENTERED /
                                                                                                        Returned the same day
                PAPER                      RETURN
                                                                                                                          No.
                                                                        Deputy sheriff of
         SERIAL No.           DEPUTY      -         PARISH




    ID: 10922990                                               Page 1 of 2
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Case 2:22-cv-01916-SM-DPC Document 1-2 Filed 06/23/22 Page 20 of 20
